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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             FORT MYERS DIVISION

  UNITED STATES OF AMERICA

  v.                                        CASE NO. 2:14-cr-63-FtM-38DNF

  AMAURY JIMINEZ BRITO

                        FORFEITURE MONEY JUDGMENT

        Pursuant to 18 U.S.C. § 981(a)(1)(C), 28 U.S.C. § 2461(c) and Federal Rule

  of Criminal Procedure 32.2(b)(2), the United States moves for a forfeiture money

  judgment against defendant Amaury Jiminez Brito in the amount of $6,099.00,

  which represents the amount of proceeds he obtained as a result of the violation

  charged in Count Two of the Indictment.

        The defendant pleaded and was adjudged guilty of Count Two of the

  Indictment, which charged him with theft of government funds in excess of $1,000,

  specifically a tax refund check in the amount of $6,099.00 that was the property of

  the United States Treasury, in violation of 18 U.S.C. § 641.

        Being fully advised in the premises, the Court finds that the United States

  has established that Amaury Jiminez Brito obtained $6,099.00 in proceeds as a

  result of the offense of conviction as charged in Count Two.

        Accordingly, it is ORDERED that the motion of the United States is

  GRANTED.

        It is FURTHER ORDERED that, pursuant to the provisions of 18 U.S.C.

  ' 981(a)(1)(C), 28 U.S.C. ' 2461(c), and Federal Rule of Criminal Procedure
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  32.2(b)(2), defendant Amaury Jiminez Brito is personally liable for a forfeiture

  money judgment in the amount of $6,099.00, which represents the proceeds he

  received as a result of the offense charged in Count Two of the Indictment.

         The Court retains jurisdiction to enter any further order necessary for the

  forfeiture and disposition of any property belonging to the defendant that the United

  States is entitled to seek as a substitute asset under 21 U.S.C. § 853(p), as

  incorporated by 28 U.S.C. § 2461(c), to satisfy the defendant’s $6,099.00 forfeiture

  money judgment.

         ORDERED in Fort Myers, Florida, on this 26th day of January, 2015.




  Copies to: All Parties/Counsel of Record




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